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 9                                   UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
11                                SAN FRANCISCO/OAKLAND DIVISION
12
          FACEBOOK, INC., a Delaware
13        corporation,                              Case No.: 3:20-CV-07182-JCS
14                          Plaintiff,
          v.                                        [PROPOSED] ORDER GRANTING
15                                                  DEFENDANTS BRANDTOTAL, LTD.
          BRANDTOTAL, LTD., an Israeli              AND UNIMANIA, INC.’S EX PARTE
16        corporation, and                          MOTION FOR TEMPORARY
          UNIMANIA, INC., a Delaware                RESTRAINING ORDER AND ORDER TO
17        corporation,                              SHOW CAUSE WHY A PRELIMINARY
                                                    INJUNCTION SHOULD NOT ISSUE
18                          Defendants.
                                                    Judge:   The Hon. Joseph C. Spero
19                                                  Ctrm.:   Courtroom F – 15th Floor
                                                    Date:    TBD
20                                                  Time:    TBD
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          [Proposed] Order Granting TRO                                  Case No. 3:20-CV-07182-JCS

     HB: 4830-9421-6654.1
       Case 3:20-cv-07182-JCS Document 27-5 Filed 10/16/20 Page 2 of 3




 1          Having considered Defendants BrandTotal Ltd. and Unimania, Inc.’s (“BrandTotal”) Ex

 2   Parte Motion for Issuance of a Temporary Restraining Order and Order to Show Cause Why a

 3   Preliminary Injunction Should Not Issue (“Motion”) against Facebook, Inc. (“Facebook”), and

 4   Facebook having been provided notice on October 14, 2020 and good cause appearing therefore:

 5          IT IS HEREBY ORDERED THAT Defendants’ Motion is GRANTED.

 6          The standard for issuing a temporary restraining order is essentially the same as that for

 7   issuing a preliminary injunction. See Randazza v. Cox, 920 F. Supp. 2d 1151, 1155 (2013). To

 8   obtain a temporary restraining order or a preliminary injunction, the moving party must

 9   demonstrate: 1) a likelihood of success on the merits; 2) a likelihood of irreparable harm in the

10   absence of preliminary relief; 3) that the balance of equities tips in the plaintiff’s favor; and 4) that

11   an injunction is in the public interest. See id. The Ninth Circuit has held that district courts may

12   issue a temporary restraining order if the first two elements are met, and there are serious questions

13   going to the merits and a hardship balance that tips sharply toward the plaintiff. See Alliance for

14   the Wild Rockies v. Cottrell, 632 F. 3d 1127, 1134–35 (2011).

15          BrandTotal has sufficiently met this standard, showing that:

16          (1) absent injunctive relief, BrandTotal is likely to suffer irreparable harm, including

17              substantial disruption to its business;

18          (2) the balance of equities tips decidedly in BrandTotal’s favor;

19          (3) BrandTotal is likely to succeed on the merits of its claims as well as Facebook’s claims;

20              and

21          (4) the public interest would be served by the issuance of a temporary restraining order.

22          Accordingly, this Court hereby GRANTS BrandTotal’s Motion in its entirety and

23   ORDERS as follows:

24          1. Plaintiff Facebook, Inc. is ordered to:

25                    a. rescind the takedown request to remove BrandTotal’s “UpVoice” browser

26                       extension from the Google Chrome Web Store and take other reasonable actions

27                       in communication with Google to make the recession effective so that UpVoice

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      [Proposed] Order Granting TRO                 1                         Case No. 3:20-CV-07182-JCS
      Case 3:20-cv-07182-JCS Document 27-5 Filed 10/16/20 Page 3 of 3




 1                     is again available on the Google Chrome Web Store;

 2                 b. reverse its “technical enforcement measures” blocking UpVoice from

 3                     Facebook’s platform; and

 4                 c. restore the BrandTotal and other BrandTotal principals’ Facebook pages.

 5         2. This temporary restraining order shall take effect immediately and remain in effect until

 6             the hearing on a preliminary injunction.

 7         3. Facebook is ordered to appear in Courtroom F in the United States District Court for

 8             the Northern District of California, San Francisco Division, on

 9             _____________________, 2020 at _______am/pm to show cause, if there is any, why

10             this Court should not enter a preliminary injunction as requested by BrandTotal.

11         4. No bond shall be required, as Facebook is not likely to be harmed by being so enjoined.

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13   IT IS SO ORDERED.

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15   Dated: ___________________, 2020                 ____________________________________
                                                      Honorable Joseph C. Spero
16                                                    Chief Magistrate Judge
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     [Proposed] Order Granting TRO                2                      Case No. 3:20-CV-07182-JCS
